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     Randolph S. Hicks, Esq. – SBN 83627
 1   CODDINGTON, HICKS & DANFORTH
     A Professional Corporation, Lawyers
 2   555 Twin Dolphin Drive, Suite 300
     Redwood City, CA 94065-2133
 3   Tel.: 650.592.5400
     Fax: 650.592.5027
 4   Email: rhicks@chdlawyers.com
 5   Richard G. Grotch, Esq. – SBN 127713
     JETSTREAM LEGAL APC
 6   80 Cabrillo Highway North, Suite Q-325
     Half Moon Bay, CA 94019
 7   Tel.: 415.691.1691
     Email: rgrotch@jetstreamlegal.com
 8
     ATTORNEYS FOR Defendant
 9   Delta Air Lines, Inc.
10
                                       UNITED STATES DISTRICT COURT
11
                                  CENTRAL DISTRICT OF CALIFORNIA
12
                                            EASTERN DIVISION
13
     ATEF BANDARY,                                   Case No. 5:17-cv-1065 DSF AS
14
                               Plaintiff,            DEFENDANT DELTA AIR LINES,
15                                                   INC.’S UPDATED TRIAL BRIEF
     vs.
16                                                   Date:      October 12, 2021
     DELTA AIR LINES, Inc., a corporation;           Time:      8:30 a.m.
17                                                   Courtroom: 7D
                               Defendant
18                                                   Honorable Dale S. Fischer
                                                     United States District Judge
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 1           Defendant Delta Air Lines, Inc. (“Delta”) respectfully submits the following
 2   updated trial brief in advance of the October 12, 2021, trial in this case. This is
 3   intended to update the trial brief Delta previously filed in advance of an August 6,
 4   2019, trial date and before certain legal issues had been resolved by the Court.
 5   I.      MATTERS ALREADY DETERMINED BY THE COURT
 6           The Court has determined that “[t]his case concerns a confrontation between
 7   Plaintiff and the flight attendant employees of Defendant while in flight.” Doc. 153 at
 8   p.1. “Because the flight in question was a leg in Plaintiff’s international itinerary, . .
 9   the Montreal Convention applies to claims for injuries suffered onboard the flight.”
10   Id. at p.4. “The Montreal Convention provides the exclusive remedy for international
11   passengers seeking damages against airline carriers.” Doc. 30 at p.1 (citing
12   Narayanan v. British Airways, 747 F.3d 1125, 1127 (9th Cir. 2014)).
13           “Under Article 17(1) of the Montreal Convention an air carrier is ‘liable for
14   damage sustained in case of death or bodily injury of a passenger upon condition only
15   that the accident which caused the death or injury took place on board the aircraft or
16   in the course of any of the operations of embarking or disembarking.’” Doc. 30 at
17   pp.1-2 (emphasis added) (quoting Montreal Conv., Art. 17(1)).
18           “The United States Supreme Court has defined an ‘accident’ under the
19   Montreal Convention – and its predecessor, the Warsaw Convention – to be an
20   ‘unexpected or unusual event or happening that is external to the passenger’ and not
21   ‘the passenger’s own internal reaction to the usual, normal, and expected operation of
22   the aircraft.’” Doc. 153, p.5 (quoting Olympic Airways v. Husain, 540 U.S. 644, 646
23   (2004) (in turn quoting Air France v. Saks, 470 U.S. 392, 405-406 (1985))).
24           Finding “that a shouting match and physical struggle took place onboard
25   between Plaintiff and the flight attendants, and that Plaintiff was handcuffed and
26   taken into custody” (Doc. 153 at p.7), and that those are not “events that take place in
27   the normal course of air travel” (id.), this Court found that those events constitute an
28   “accident” for purposes of Article 17 of the treaty (id.).
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 1           With respect to what injuries are potentially compensable in this case, the
 2   Court has determined the following. First, “[t]here is no question that a plaintiff
 3   cannot recover for purely emotional or mental harm.” Doc. 214 at p.1 (citing Carey v.
 4   United Airlines, 255 F.3d 1044, 1051 (9th Cir. 2001) (interpreting analogous
 5   provision of Warsaw Convention). Second, “[a] plaintiff also cannot recover for
 6   mental or emotional injury that results in physical manifestations.” Id. (citing Carey,
 7   255 F.3d at 1051-1053). Third, a “showing that the plaintiff suffered bodily harm”
 8   does not “allow[] the plaintiff to recover all of his mental or emotional damages … if
 9   those damages do not stem from the bodily harm.” Id. at p.2.
10           And, the Court has found that as to reports by Delta employees to law
11   enforcement, and with respect to the potential liability for the reports or the
12   consequences of the reports, Delta is immunized from liability. That immunity is
13   provided by the Aviation and Transportation Security Act, 49 U.S.C. § 44941
14   (“ATSA”).
15           Specifically, the Court determined that (1) 49 U.S.C. § 44941(a) “does, and
16   was intended to, apply to cases under the Montreal Convention” (id. at pp.4-5), (2) “§
17   44941(a) applies to all of the claims” in this case (id. at p.5), (3) “the language and
18   purpose of § 44941(a) support the application of broad immunity” (id. at p.6
19   (emphasis added)) and (4) “[i]mplicit in immunity for making reports to law
20   enforcement is immunity from liability for whatever law enforcement might do with
21   those reports[; o]therwise, immunity would be largely meaningless” (id.). Lastly, the
22   Court found that “[b]ecause Plaintiff has no evidence of actual knowledge or reckless
23   disregard as to the truth or falsity of the reports made by Defendant, the § 44941(b)
24   exception to immunity does not apply” (id.).
25   ///
26   ///
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 1   II.     THE FEW ISSUES THAT REMAIN UNRESOLVED
 2           In this case brought pursuant to Article 17 of the Montreal Convention, the
 3   issues to be resolved are few and narrow. Plaintiff laid out most of these elements in
 4   his own memorandum of contentions of fact and law (“MCFL”). Doc. 177. They are
 5   the following.
 6           First, “Plaintiff was flying on an international itinerary.” Id. at p.1. This is
 7   undisputed.
 8           Second, “[t]he occurrence of an ‘accident’ as that term is defined in the
 9   Montreal Convention.” Id. at p.2. As noted, the Court has found that the following
10   “accidents” took place: “a shouting match and physical struggle took place onboard
11   between Plaintiff and the flight attendants, and … Plaintiff was handcuffed and taken
12   into custody.” Doc. 153 at p.7. In his MCFL, plaintiff was a bit more expansive,
13   stating that he claims that “the Flight Attendants approached Mr. Bandary, denied
14   him use of the restroom, and engaged in sustained verbal confrontation with him,
15   ultimately placing him in handcuffs and turning him over to police for arrest.” Doc.
16   177 at p.2.
17           However, now that the Court has found that ATSA immunity applies, Delta
18   should be immunized for (a) at least some portion of the verbal exchange and
19   physical struggle (depending on evidence regarding the timing of Delta’s report to
20   law enforcement); (b) the placement of handcuffs by law enforcement; and (c) the
21   other actions of law enforcement.
22           Third, as plaintiff acknowledges, “[t]he accident must cause a bodily injury.”
23   Doc. 177 at p.2. All that remains to be decided are: (a) whether plaintiff sustained a
24   bodily injury that was caused by (1) “a shouting match and physical struggle onboard
25   between Plaintiff and the flight attendants” and, to the extent Delta is not immunized
26   by ATSA, (2) being handcuffed and taken into custody; and (b) the nature and extent
27   of the accident-caused bodily injury, if any.
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 1           Fourth, plaintiff must prove his compensable damages. These are limited to
 2   damages sustained as a result of the accident-caused bodily injury, if any (Jack v.
 3   Trans World Airlines, 854 F. Supp. 654, 667 (N.D. Cal. 1994)). Again, however, this
 4   is subject to Delta’s immunity under ATSA.
 5           In addition, Delta has asserted an affirmative defense under Article 20 of the
 6   Montreal Convention. Article 20 provides for exoneration of the airline. It states, in
 7   pertinent part, that:
 8
                      If the carrier proves that the damage was caused or
 9                    contributed to by the negligence or other wrongful act or
                      omission of the person claiming compensation, or the person
10
                      from whom he or she derives his or her rights, the carrier
11                    shall be wholly or partly exonerated from its liability to the
                      claimant to the extent that such negligence or wrongful act
12
                      or omission caused or contributed to the damage.
13   Though Delta disputes that its reasonableness should be at issue in this case, the
14   Court concluded that under Article 20, “Plaintiff’s actions will be judged in the
15   context of Delta’s actions[, t]he reasonableness of Delta’s actions could impact the
16   reasonableness of Plaintiff’s actions.” Doc. 239 at p.2.
17           Even if plaintiff is permitted to proffer evidence of the reasonableness of
18   Delta’s conduct, he should not be allowed to turn this into a discrimination case.
19   There are several reasons why Delta’s motivation – whether benevolent or invidious,
20   discriminatory or unbiased – is irrelevant in this case.
21           For one, the Court previously ruled that this is not a discrimination case. The
22   first amended complaint contained a claim under Section 1981. Doc. 9, ¶¶ 99-116.
23   But the Court granted Delta’s motion to dismiss that claim. Doc. 30. When the
24   statutory discrimination claim re-appeared in the second amended complaint, plaintiff
25   himself moved to strike his pleading and his motion was granted. Doc. 36. The
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 1   operative, third amended complaint, properly and in accordance with the Court’s
 2   prior ruling, does not include a discrimination claim. 1
 3           Not only has the Court stated there can be no discrimination claim, but plaintiff
 4   previously acknowledged as much. In his MCFL, the words “discriminate” and
 5   “discrimination” appear nowhere. And, plaintiff doesn’t so much as hint at
 6   discrimination as an issue pertinent to the case. See Doc. 177. Similarly, the
 7   [Proposed] Final Pretrial Conference Order jointly lodged by the parties on June 25,
 8   2019, says nothing about discrimination as an issue in this case.
 9           Beyond the realities that (a) the Court determined there can be no
10   discrimination claim in the context of this case and (b) plaintiff has not put
11   discrimination at issue, including in any of his pretrial submissions, there is no
12   relevance to allegations of discrimination. Plaintiff’s only claim, under Article 17 of
13   the Montreal Convention, is a strict liability, no fault claim. Once it is determined
14   there was an “accident” – as the Court did – all that remains is for plaintiff to prove
15   the accident caused a bodily injury and that the bodily injury caused him to sustain
16   damage.
17           It would be prejudicial in the extreme for plaintiff to benefit from Article 17’s
18   pro-passenger strict liability regime and then be allowed to “pile on” with irrelevant
19   evidence of what plaintiff conjures (and he can only speculate 2) were Delta’s motives
20   (i.e., to discriminate against him). Any such irrelevant, time consuming, confusing
21
22
     1
            The Court correctly found that plaintiff’s discrimination claim was preempted
     by the treaty. See, e.g., Berlin v. Jetblue Airways Corp., No. 18-CV-1545 (MKB)
23   (LB), 2020 U.S. Dist. LEXIS 15959, at *17 (E.D.N.Y. Jan. 30, 2020) (federal civil
     rights and discrimination claims, such as those brought under Section 1981 or Section
24   1983, are precluded by the Montreal Convention if they arise from acts that fall under
     the Montreal Convention's substantive scope.)
25
     2
            Plaintiff’s deposition testimony shows his uncertainty on this point: “I cannot
26   really judge what the reason is. I am really confused. What was their justification?
     What was the reason? Is it race? Is it color? Homosexual? I don’t know.” Bandary
27   Depo. p.263.
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 1   and highly prejudicial evidence is inadmissible under Rules 402 and 403 of the
 2   Federal Rules of Evidence. 3
 3   III.    ISSUES PERTINENT TO PLAINTIFF’S CLAIMED DAMAGES
 4           While a passenger-plaintiff is afforded the benefit of establishing an air
 5   carrier’s liability without proof of fault, the treaty also sets limits on a claimant’s
 6   recovery when the conditions for recovery are met. See Seshadri v. British Airways
 7   PLC, No. 3:14-cv-00833-BAS (WVG), 2014 U.S. Dist. LEXIS 156016, at *12 (S.D.
 8   Cal. Nov. 4, 2014) (citing Montreal Conv., at arts. 17-19, 21-22). A Montreal
 9   Convention plaintiff does not have recourse to the full panoply of damages that might
10   be allowed in a traditional tort action.
11           Given the admissible evidence, the limitation on available damages is
12   particularly significant in this case. Even though the Court determined that an
13   “accident” occurred on the subject flight, plaintiff cannot prove he sustained any
14   legally compensable injury caused by the accident. The Court’s prior rulings
15   regarding Delta’s immunity under ATSA and the scope of legally compensable
16   emotional distress damages, cabin the damages plaintiff may permissibly seek in this
17   case.
18           A.       The Effect of ATSA Immunity
19           As this Court recognized, ATSA immunity not only applies to reports of
20   suspicious activity, but also to harm allegedly resulting from the reports. As the Court
21   stated, “[i]mplicit in immunity for making reports to law enforcement is immunity
22   from liability for whatever law enforcement might do with those reports. Otherwise,
23   immunity would be largely meaningless. The purpose of § 44941(a) is to encourage
24   reports to law enforcement. That purpose would clearly be undercut if airlines and
25
     3
            Even farther afield, prejudicial and irrelevant is plaintiff’s professed intention
26   to introduce evidence of settlements of other discrimination claims involving Delta
     and individuals with no connection to this case. Delta objects strenuously to all such
27   evidence, all the more so because it was never disclosed in pretrial discovery.
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 1   airline personnel would be potentially liable for the independent actions of law
 2   enforcement after a report was made.” Doc. 214 at p.6.
 3           Plaintiff has never claimed – and couldn’t plausibly do so now – that he
 4   sustained any bodily injury before he was restrained by the law enforcement officer
 5   (Special Agent Nick Vahe) to whom plaintiff’s inexplicable, uncontrolled behavior
 6   had been reported by the Delta crew.
 7           In fact, in discovery, plaintiff stated it was even later that he was physically
 8   injured. He claims that “[d]uring disembarkation, [he] was met on the plane by law
 9   enforcement personnel who . . . . injured Mr. Bandary by roughly removing him from
10   the aircraft, then further injured Mr. Bandary by forcibly transporting him to a
11   hospital for an involuntary psychiatric evaluation.” Plaintiff’s response to Delta’s
12   Request for Admission No. 3. It was in that process that plaintiff maintains he
13   “received physical injuries to his shoulder . . . as well as bruising to his wrists, and
14   emotional/psychological trauma.” Id.
15           In either case, even by his own account, plaintiff allegedly sustained a bodily
16   injury only after Delta reported his behavior to law enforcement and responsibility for
17   responding to those reports transferred to law enforcement. Under ATSA, Delta is
18   therefore not liable for the alleged injury as a matter of law.
19           B.       The Effect of The Court’s Ruling on Emotional Injuries
20           “There is no question that a plaintiff cannot recover for purely emotional or
21   mental harm. Carey v. United Airlines, 255 F.3d 1044, 1051 (9th Cir. 2001)
22   (interpreting analogous provision of Warsaw Convention). A plaintiff also cannot
23   recover for mental or emotional injury that results in physical manifestations. Id. at
24   1051-53.” Doc. 214 at p.1 (emphasis added).
25           The Court determined that recovery for mental or emotional damages is
26   “limited to such damages that stemmed from bodily harm.” Doc. 214 at p.2. The
27   Court rejected plaintiff’s request to ignore the causation requirement in the Montreal
28   Convention as well as his argument (as characterized by the Court) that “any bodily
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 1   injury suffered in the course of an accident, no matter how slight, opens up recovery
 2   for all mental and emotional distress, no matter how unrelated to the bodily injury.”
 3   Id. at p.3. The Court noted plaintiff’s position “would lead to absurd results surely not
 4   intended by the drafters of Article 17.” Id.
 5           This Court’s holding is fully consistent with, and ultimately derives from the
 6   holding in, E. Airlines v. Floyd, 499 U.S. 530, 111 S. Ct. 1489 (1991). In Floyd, the
 7   Supreme Court held that Article 17 of the Warsaw Convention did not allow recovery
 8   for mental injury that is unaccompanied by physical injury. Carey, 233 F.3d at 255
 9   F.3d at 1051. “In Floyd, all three engines of an airplane had failed shortly after
10   takeoff, at which point the crew notified the passengers that they would ditch the
11   plane in the ocean. Fortunately, the crew managed to restart an engine and land
12   safely. Id.
13           Since Floyd, Courts have considered the question of when, if ever, to allow
14   recovery for mental injuries in cases governed by the one of the aviation treaties.
15   There is one answer to this question that has been variously described as
16   representative of “the majority rule” (Ligeti v. British Airways PLC, 00 civ. 2936
17   (FM), 2001 U.S. Dist. LEXIS 15996, at *12-13 (S.D.N.Y. Oct. 4, 2001)) and “[t]he
18   more mainstream view” (Lloyd v. Am. Airlines (in Re Air Crash at Little Rock Ark.),
19   291 F.3d 503, 509 (8th Cir. 2002)); and it is “widely attributed to the decision of the
20   Northern District of California in Jack [v. Trans World Airlines, 854 F. Supp. 654
21   (N.D. Cal. 1994)].”
22           Jack involved emotional distress claims by international passengers aboard a
23   TWA flight when it attempted to depart from New York’s JFK Airport bound for San
24   Francisco. The aircraft experienced an aborted takeoff, crash and fire on the runway.
25   The fire “completely destroyed the plane but all passengers survived. During the
26   aborted takeoff and evacuation, many passengers suffered minor physical injuries.
27   Many passengers were traumatized by the incident.” Jack, 854 F. Supp. at 657.
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 1   In making its determination as to the emotional damages that were legally
 2   recoverable, “the court interpreted Article 17 of the Warsaw Convention and the
 3   Floyd decision. The court evaluated several possible approaches to emotional distress
 4   in a Convention case, ranging from no recovery at all to recovery only for distress
 5   ‘flowing from’ the bodily injury.” Lloyd, 291 F.3d at 509, quoting Jack, 854 F. Supp.
 6   at 665.
 7           The Jack holding – now regarded as the “majority,” “mainstream” view – is
 8   that “the emotional distress recoverable is limited to the distress about the physical
 9   impact or manifestation, i.e., the bodily injury. Recovery is not allowed for the
10   distress about the accident itself.” Jack, 854 F. Supp. at 668 (emphasis added). The
11   emotional distress must flow from the bodily injury.
12           Jack “concluded the ‘flowing from’ approach was best, reasoning that it would
13   prevent inequities among the passengers, such that ‘the happenstance of getting
14   scratched on the way down the evacuation slide [did] not enable one passenger to
15   obtain a substantially greater recovery than that of an unscratched co-passenger who
16   was equally terrified by the plane crash.’” Lloyd, 291 F.3d at 509-510 (quoting Jack,
17   854 F. Supp. at 668).
18           In Ehrlich v. Am. Airlines, Inc., 360 F.3d 366, 386-387 (2d Cir. 2004), the
19   Second Circuit reached the same result as the Jack Court, although for somewhat
20   different reasons. Ehrlich noted the district court’s explanation, in Longo v. Air Fr.,
21   95 CV 0292 (BDP), 1996 U.S. Dist. LEXIS 21947, at *5 (S.D.N.Y. July 25, 1996),
22   that, “allegations of mental distress that is unrelated to physical injury – i.e., mental
23   distress that does not flow from physical injury . . . – are no different from the pure
24   mental injury claims proscribed by Floyd.” Ehrlich, 360 F.3d at 386-387 (quoting
25   Longo, 1996 U.S. Dist. LEXIS 21947, at *5.
26           Quoting Alvarez v. Am. Airlines, Inc., 98 Civ. 1027 (MBM), 1999 U.S. Dist.
27   LEXIS 13656, at *10-11 (S.D.N.Y. Aug. 30, 1999), the Ehrlich Court continued,
28   “[c]onsequently, if Article 17 were read as if it encompassed liability for mental
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 1   injuries that were not caused by bodily injuries, ‘plaintiffs would be able to skirt
 2   Floyd’s bar on recovery for purely psychological injuries simply by alleging that they
 3   have suffered some physical injury, no matter how slight or remote. As a practical
 4   matter, the substantive rule of law announced in Floyd would thus be converted into
 5   an easily satisfied pleading formality, and a back door would be impermissibly
 6   opened to recovery for purely psychological injuries.’” Ehrlich, 360 F.3d at 387.
 7           Like the facts in Jack, the facts in Alvarez are apposite here. In Alvarez, the
 8   plaintiff was a passenger on an international flight departing from JFK. Almost
 9   immediately after it left the gate, the plane stopped. About two minutes later, a
10   “strong gas smell” was discernible in the cabin and the plane filled rapidly with
11   smoke. Id. at *2. When a crew member yelled, “get out,” the passengers scrambled
12   for the exits. Id. Plaintiff made his way down the emergency slide but, in the process,
13   was impacted from behind and, in turn, bumped into another passenger. Id.
14   Ultimately, plaintiff’s heels struck the ground, he fell forward onto his knees, then
15   backward onto his buttocks. Id. As a result of plaintiff’s impact with the runway, he
16   felt a “burning” sensation on his knees and buttocks and was bruised in both places.
17   Id. at *3.
18           Plaintiff subsequently treated with his sister, a doctor, and she “concluded that
19   the evacuation had left Alvarez ‘emotionally disturbed’ …” Id. A month later,
20   plaintiff “began having nightmares and anxiety attacks” – “episodes … accompanied
21   by screaming, profuse sweating, an elevated heart rate, and memories of the smoke-
22   filled passenger cabin of the plane.” Id.
23           The Court granted the airline’s motion for summary judgment as to claims for
24   psychological and emotional injuries not proximately caused by physical injuries
25   suffered during the accident. Id. at *17. It did so because “in a case governed by
26   Article 17, a plaintiff may recover compensation for psychological and emotional
27   injuries only to the extent that these injuries are proximately caused by his or her
28   physical injuries” and “[p]sychological and emotional injuries that are merely
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 1   accompanied by physical injuries are not compensable.” Id. at *14-15 (emphasis
 2   added).
 3           Plaintiff’s consistent position has been that his distress was caused by the
 4   accident and not by physical injuries plaintiff says he sustained in the accident. These
 5   are what Dr. Williams describes as: being “basically bullied and harassed” (Williams
 6   Report on Bandary, p.13), “followed to the bathroom” (id.), “confirmed as ‘a
 7   terrorist’ by virtue of his Arabic name” (id.), and a response that was “nothing less
 8   than hysteria” as the “airline crew responded to their fears of Mr. Bandary, an ill, gay
 9   man traveling with an ill and elderly man” (id.).
10           Emotional distress caused by this conduct, even if true – and Delta surely
11   denies it is – is precisely the sort of emotional distress that is not compensable under
12   Floyd, the great weight of authority since Floyd, including the cases cited above, as
13   well as this Court’s pretrial rulings. In each instance, the purported emotional distress
14   is alleged to have been caused by the Article 17 accident. Yet that is precisely what is
15   not compensable under the treaty.
16           Plaintiff gains even less traction with claims that his emotional distress was
17   caused by the following events:
18                    •        being “arrested and manhandled off the flight” (id.)
19
                      •        having “his mental status … assessed at an Emergency Room”
20                             (id.)
21
                      •        at the ER, having “nothing … done to assess the injuries Mr.
22                             Bandary had reportedly incurred during his arrest” (id. at p.14)
23                    •        at the ER, receiving “no assistance … for the fact that Mr.
24                             Bandary had soiled his pants with diarrhea” (id.)

25                    •        finding “himself on the no-fly list and [being] told he would never
                               be allowed to fly again” (id.)
26
27                    •        being “accused of interfering with a flight crew due to his
                               apparently feeble efforts not to be bullied due to his ethnic origin
28                             and sexual orientation on the airplane” (id.)
                                                      11
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 1
                      •        “endur[ing] two years of probation as well as a court trial before
 2                             being exonerated” (id.).
 3   For at least two independent reasons, emotional distress allegedly caused by these
 4   events or happenings – as claimed by plaintiff and Dr. Williams – is not compensable
 5   under Article 17 of the Montreal Convention.
 6           First, to the extent these events caused any emotional upset, again, the upset
 7   was not caused by a bodily injury. Second, if these events happened at all, they
 8   necessarily occurred after, and only in response to, the crew’s report to, and request
 9   for, law enforcement, including the request for assistance from and intervention by
10   Special Agent Nicholas Vahe who was aboard the aircraft, as well as law
11   enforcement personnel on the ground at the Salt Lake City Airport.
12           As the Court already found, Delta is immunized (pursuant to the ATSA) for
13   law enforcement’s response to crew reports. Such immunity extends to the responses
14   to these occurrences that are claimed, by Dr. Williams, to be sources of plaintiff’s
15   mental distress.
16           C.       The Evidentiary Void with Respect to Economic Damages
17           In terms of economic damages, plaintiff has failed to produce any meaningful
18   evidence. With respect to medical expenses, though plaintiff produced 1,704 pages in
19   discovery, there was just a single sheet that if construed liberally in plaintiff’s favor
20   might pass for a medical bill. It is for $485.43. BAND000002. But even if it were
21   fairly characterized as a “bill,” what it shows is that the charge was not paid.
22           “California law is clear that unpaid medical bills or invoices are irrelevant to,
23   and therefore inadmissible to show, past or future medical expenses and noneconomic
24   damages, and they do not support expert opinion on the reasonable value of future
25   medical expenses.” Bennett v. United States, No. CV 16-4439-DMG (JEMx), 2018
26   U.S. Dist. LEXIS 226328, at *10 (C.D. Cal. Mar. 22, 2018) (citations omitted).
27   ///
28   ///
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 1           Because “[i]t is the party that claims such damages who bears the burden of
 2   showing that the expenses claimed are reasonable, necessary, and related to the event
 3   that caused injury (id.) (citing Howell v. Hamilton Meats & Provisions, Inc., 52 Cal.
 4   4th 541, 555, 129 Cal. Rptr. 3d 325 (2011)), and because plaintiff has not disclosed
 5   any witness who could competently prove what is required, there is no basis upon
 6   which plaintiff can recover past or future medical expenses.
 7           In his Rule 26 report, forensic psychologist Martin Williams adverts to
 8   plaintiff’s pre-flight mental health treatment as well as continued treatment following
 9   the flight. But he says nothing about the medical necessity of the past treatment,
10   about the cost of that treatment, or regarding the reasonableness of the treatment costs
11   (whatever they were). The same is true with respect to future care. All he offers is
12   that plaintiff “will require weekly or twice-weekly psychotherapy along with monthly
13   medication management for the rest of his life.” To be sure, he doesn’t say that
14   treatment regimen is necessary to treat bodily injury-caused emotional upset. Nor
15   does he so much as hazard a guess as to the reasonable cost of the treatment he
16   proposes.
17           None of the rest of plaintiff’s claimed economic damages are legally
18   recoverable. They all relate to expenses incurred because of decisions made, and
19   actions taken, by law enforcement. The bulk of the expenses relate to the cost of
20   plaintiff’s criminal defense – costs the Court found are not Delta’s responsibility. The
21   malicious prosecution claim was adjudicated adversely to plaintiff; and applying
22   ATSA, the Court has found that Delta is not liable for the “later criminal prosecution
23   of Plaintiff.” Doc. 214 at p.3.
24   IV.     POTENTIAL EVIDENTIARY ISSUES
25           A.       Rebuttal Testimony of Patricia Adams
26           Patricia Adams was disclosed by plaintiff as a rebuttal expert – presumably to
27   rebut the testimony of Delta’s pilot expert, Captain John Cox and flight attendant
28   expert, Mr. Robert Hemphill. At the outset of her report, Ms. Adams takes issue with
                                                13
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 1   the analysis by these defense experts. Despite this, it seems that plaintiff intends to
 2   call Ms. Adams in his case-in-chief. This is improper.
 3           As explained in Morrison v. Quest Diagnostics Inc., No. 2:14-cv-01207-RFB-
 4   PAL, 2016 U.S. Dist. LEXIS 82518, at *4-5 (D. Nev. June 22, 2016) (emphasis
 5   added), “[t]he purpose of rebuttal testimony is to ‘explain, repel, counteract or
 6   disprove evidence of an adverse party . . .’ United States v. Lamoreaux, 422 F.3d 750,
 7   755 (8th Cir. 2005) (internal quotations omitted). Or stated a bit differently, ‘[t]he
 8   proper function of rebuttal evidence is to contradict, impeach or diffuse the impact of
 9   evidence offered by an adverse party.’ Peals v. Terre Haute Police Department, 535
10   F.3d 621, 630 (7th Cir. 2008). Rebuttal evidence may be introduced to challenge the
11   evidence or theory of an opponent, but may not be used to establish a case-in-chief.
12   Marmo v. Tyson Fresh Meats, Inc., 457 F.3d 748, 759 (8th Cir. 2006).”
13           As she is a rebuttal expert, Ms. Adams should be allowed to testify, if at all,
14   only if and after the witnesses she purports to rebut are called by Delta in its case.
15   “[S]upplemental or ‘rebuttal’ experts . . . cannot put forth their own theories; they
16   must restrict their testimony to attacking the theories offered by the adversary’s
17   experts.” Bakst v. Cmty. Mem’l Health Sys., No. CV 09-08241 MMM (FFMx), 2011
18   U.S. Dist. LEXIS 163192, at *98 (C.D. Cal. Mar. 7, 2011) (quoting International
19   Business Machines Corp. v. Fasco Indus., Inc., C-93-20326 RPA, 1995 U.S. Dist.
20   LEXIS 22533, 1995 WL 115421, *3 (N.D. Cal. Mar. 15, 1995)).
21           C.       Testimony of Martin Williams, Ph.D.
22           Plaintiff’s forensic psychologist proposes to testify that he diagnosed plaintiff
23   with (a) Major Depressive Disorder, Severe, Recurrent Episode, With Anxious
24   Distress, In Partial Remission with Medication; and (b) Posttraumatic Stress Disorder
25   (PTSD). But the most he can say about the source of plaintiff’s distress is that “It’s
26   all part of the package of everything that happened to him led to his present
27   suffering.” Deposition of Martin Williams, Ph.D., at 95:15-23.
28
                                                 14
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 1           Significantly for present purposes, Dr. Williams never evaluated any of
 2   plaintiff’s alleged physical injuries or the sources thereof; and he repeatedly testified
 3   that he is unable to attribute plaintiff’s emotional distress to his bodily injuries or any
 4   particular bodily injury. According to Dr. Williams, “I don’t think things can be
 5   separated that way.” Id. at 87:6-16.
 6           Given the law that governs this case and which limits the emotional distress
 7   damages potentially available to the plaintiff, everything Dr. Williams proposes to
 8   say is both irrelevant and poses a substantial risk of juror confusion. In its motions in
 9   limine nos. 2 and 3, Delta challenged proposed testimony from Dr. Williams. The
10   Court’s order (Doc. 214 at pp.6-7) seems to accept the premise that Dr. Williams
11   should not testify, but goes on to state that “[t]here is no reason why Plaintiff himself
12   could not testify regarding his own personal physical, mental, and emotional
13   injuries.
14           Delta submits that if Dr. Williams’s testimony is not excluded in its entirety –
15   and it should be – plaintiff should be required to make an offer of proof regarding
16   what he can say to assist the trier of fact in deciding issue of relevance in this case.
17   V.      CONCLUSION
18           Delta believes this discussion fairly addresses the limited scope of issues that
19   remain for the trier of fact’s consideration and resolution.
20   Dated: September 11, 2021                    Respectfully submitted,
21                                                JETSTREAM LEGAL APC
22
                                                         /s/ Richard G. Grotch
23                                                By:
                                                    Richard G. Grotch
24                                                    -and-
25                                                    Randolph S. Hicks
                                                      CODDINGTON, HICKS & DANFORTH
26
                                                      Attorneys for Defendant
27                                                    Delta Air Lines, Inc.
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